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                      EXHIBIT A
Case 6:23-cv-02280-CEM-DCI Document 1-1 Filed 08/31/23 Page 2 of 9 PageID 6
                                                                     CT Corporation
                                                      Service of Process Notification
                                                                                                                   06/14/2023
                                                                                                      CT Log Number 544066436


  Service of Process Transmittal Summary

  TO:       Maria Bustamante, Paralegal-Litigation
            United Airlines, Inc.
            609 MAIN STREET, 16TH FLOOR/HSCPZ
            HOUSTON, TX 77002-3167

  RE:       Process Served in New York

  FOR:      United Airlines, Inc. (Domestic State: DE)


  ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

  TITLE OF ACTION:                        Re: GIOVANNI FAJARDO MORENO // To: United Airlines, Inc.

  CASE #:                                 7111212023

  NATURE OF ACTION:                       Personal Injury - Failure to Maintain Premises in a Safe Condition

  PROCESS SERVED ON:                      C T Corporation System, New York, NY

  DATE/METHOD OF SERVICE:                 By Process Server on 06/14/2023 at 13:35

  JURISDICTION SERVED:                    New York

  ACTION ITEMS:                           CT will retain the current log

                                          Image SOP

                                          Email Notification, Tom Campuzano thomas.d.campuzano@united.com

                                          Email Notification, Maria Bustamante maria.bustamante@united.com

  REGISTERED AGENT CONTACT:               C T Corporation System
                                          28 Liberty Street
                                          New York, NY 10005
                                          866-331-2303
                                          CentralTeam1@wolterskluwer.com



  The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion,
  and should not otherwise be relied on, as to the nature of action, the amount of damages, the answer date, or any other
  information contained in the included documents. The recipient(s) of this form is responsible for reviewing and interpreting the
  included documents and taking appropriate action, including consulting with its legal and other advisors as necessary. CT
  disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be
  contained therein.




                                                                                                                        Page 1 of 1
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                                                                     Wolters Kluwer

                           PROCESS SERVER DELIVERY DETAILS



Date:                                      Wed, Jun 14, 2023
Server Name:                               dondre dennis



                                                                                       1
 Entity Served                U NITED AIRLINES, INC.

 Case Number                  7111212023
 J urisdiction                NY



                                                 Inserts
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SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF QUEENS

GIOVANNI FAJARDO MORENO,


                                   Plaintiff/Petitioner,

                - against -                                                Index No. 711121/2023



                                   Defendant/Respondent.


                       NOTICE OF COMMENCEMENT OF ACTION
                    SUBJECT TO MANDATORY ELECTRONIC FILING

        PLEASE TAKE NOTICE that the matter captioned above, which has been commenced by filing of the
accompanying documents with the County Clerk,is subject to mandatory electronicfiling pursuant to Section 202.5-bb
of the Uniform Rules for the Trial Courts. This notice is being served as required by Subdivision (b)(3) of that
Section.

         The New York State Courts Electronic Filing System ("NYSCEF') is designed for the electronic filing of
documents with the County Clerk and the court and for the electronic service of those documents,court documents,
and court notices upon counsel and self-represented parties. Counsel and/or parties who do not notify the court of a
claimed exemption(see below)as required by Section 202.5-bb(e)mustimmediately record their representation within
the e-filed matter on the Consent page in NYSCEF.Failure to do so may result in an inability to receive electronic
notice of document filings.

       Exemptions from mandatory e-filing are limited to: 1) attorneys who certify in good faith that they lack the
computer equipmentand(along with all employees)the requisite knowledge to comply;and 2)self-represented parties
who choose not to participate in e-filing. For additional information aboutelectronicfiling,including access to Section
202.5-bb,consult the NYSCEF website at www.nycourts.gov/efile or contact the NYSCEF Resource Center at 646-
386-3033 or efile@courts.state.ny.us.

Dated: 05-30 023

                                      Ignature)            asn FifthrAve, STF 8400            (Address)
Meryi I.Schwartz                                           New York, New York 10118
                                   (Name)
Jonathan C. Reiter Law
Firm                               (Firm Name)             212-736-0979                       (Phone)
                                                           info@jcreiterlaw.com
                                                                                              (E-Mail)


To:     United Airlines, Inc. CT
        Corporation System,
        28 Liberty Street, New
         YorK, New YorK iUUOb
        Case 6:23-cv-02280-CEM-DCI Document 1-1 Filed 08/31/23 Page 5 of 9 PageID 9

 417-
YSCEF DOC. NO. 1                                                                                            RECEIVED NYSCEF: 05/30/202




        SUPREME COURT OF THE STATE OF NEW YORK
        COUNTY OF QUEENS
                                                                                                     X
        GIOVANNI FAJARDO MORENO,                                                                           Index No.

                                                       Plaintiffs,                                         SUMMONS

                       -against-

        UNITED AIRLINES,INC.,

                                                       Defendant.
        W WWWW W41••••••••••••IN   Orm.   ••••   ••••••••mmeo.wim4•••••••WWWWWWWWWWW ware.ormlomma•••••X




        To the above-named defendant(s)

                       YOU ARE HEREBY SUMMONED to answer the complaint in this action and to serve a

        copy of your answer on the Plaintiff's Attorney within 20 days after the service ofthis summons,

        exclusive ofthe day ofservice, or within 30 days after the service is complete ifthis summons is

        not personally delivered to you within the State ofNew York and in case of your failure to

        appear or answer,judgment will be taken by default for the relief demanded in the complaint.

        Plaintiff designates Queens County as the place oftrial. The basis of venue is plaintiffs

        residence at 69-01 351"Avenue, Woodside, New York 11377.

        Defendants' address(es)
        United Airlines, Inc., CT Corporation System,28 Liberty Street, New York, New York 10005

                                                                  JONATHAN C. REITER LAW FIRM,PLLC


                                                                  By:
                                                                              MERYL f. SCHWARTZ,ESQ.
                                                                              Attorney for Plaintiff(s)
                                                                              350 Fifth Avenue, Suite 6400
                                                                              New York,New York 10118
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-._
[MEP DOC. NO. 1                                                                       RECEIVED NYSCEF: 05/30/202.




        SUPREME COURT OF THE STATE OF NEW YORK
        COUNTY OF QUEENS
                                                                              X
        GIOVANNI FAJARDO MORENO,                                                     Index No.

                                     Plaintiffs,                                     VERIFIED
                                                                                     COMPLAINT
              -against-

        UNITED AIRLINES,INC.,

                                     Defendant.
                                                   1101041..1.M.M.••••••141100.1•X




              Plaintiff by his attorneys, JONATHAN C.REITER LAW FIRM,PLLC complaining

       ofthe defendant respectfully allege upon information and beliefas follows:

                                    AS AND FOR A FIRST CAUSE OF ACTION
              1. Plaintiff, GIOVANNI FAJARDO MORENO,is a resident ofthe State ofNew York,

       City ofNew York,County ofQueens.

              2. Upon information and belief the defendant, UNITED AIRLINES,INC.("UNITED")

       was and still is a foreign corporation organized and existing under the laws ofthe State of

       Delaware having its principal place ofbusiness at 233 S. Wacker Drive, 14'h Floor, WHQCT,

       Chicago,Illinois 60606.

              3. At all times hereinafter mentioned and at the time ofthe occurrences herein,the

       defendant UNITED was authorized to do business in New York,and was in fact doing business

       In New York.

             4. On May 4,2022,the plaintiff was a fare-paying passenger aboard UNITED Flight

       2226(the"flight")that departed from Orlando Airport at approximately 8:19 pm(El)and

       arrived at Newark Airport at approximately 10:59 pm.
             5. The plaintiff, was assigned middle seat 29E.



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                  6. Prior to take off, while plaintiff was stowing his luggage in the overhead

         compartment,a UNITED employee,servant and/or agent,closed the compartment on the

         plaintiff's left hand,including but not limited to his left middle finger.

                  7. That defendant UNITED,its agents,servants and employees were careless,reckless

         and negligent in causing and permitting an injury to plaintiff's left hand including but not limited

         to his left middle finger when they closed the overhead on his left hand including but not limited

         to his left middle finger;in failing to observe plaintiff's hand/finger was in the overhead;in
         failing to see whatcould be seen;in failing to exercise proper care and supervision;in being

         responsible under the doctrine ofrespondeat superior for the negligent acts and omissions ofits

         employees and agents and in otherwise being careless,reckless and negligent.
                8. That by reason ofthe foregoing,the infant plaintiff, GIOVANNI FAJARDO

         MORENO,was caused to sustain severe, permanent personal injuries, pain,suffering, oss of

         enjoyment oflife, economic and pecuniary damages,and to incur expenses for medical, hospital

        and rehabilitative treatment. Upon information and be1ie4 the plaintiff's injuries are permanent
        and will cause figure pain,suffering, disability,loss ofenjoyment oflife,economic and
        pecuniary damages.

               9. That by reason ofthe foregoing,the infant plaintiffdemands all damages permitted

        by law.
                WHEREFORE,plaintiff GIOVANNO FAJARDO MORENO demandsjudgment

        against defendant UNITED AIRLINES,INC.for all damages permitted by law in an amount that
        exceeds thejurisdiction ofall lower courts, together with interest, costs and disbursements.




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NSCEF DOC. NO. I                                                        RECEIVED NISCEF: 05/30/202




                                    JONATHAN C. REITER LAW FIRM,PLLC



                                    By:     (A,
                                          MERYL I. SCHWARTZ
                                          Attorney for Plaintiffs
                                          350 Fifth Avenue,Suite 6400
                                          New York, New York 10118
                                          212-736-0979




                                           3
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USCEF DOC. NO.                                                                        RECEIVED NYSCEF: 05/30/202:




                                        ATTORNEY'S VERIFICATION



           STATE OF NEW YORK  1
                              ss:
           COUNTY OF NEW YORK }


                   MERYL I. SCHWARTZ,an attorney duly admitted to practice in the Courts of
           the State ofNew York,state that I am the attorney for the plaintiff herein.

                    I have read the foregoing COMPLAINT and know the contents thereof; the same
           is true to my own knowledge,except as to the matters therein alleged to be on
           information and belief, and as to those matters I believe it to be true.

                   The reason this verification is made by me and not by plaintiff is that plaintiff
           resides in a county other than the one in which affirmant has his office.

                   The grounds of my beliefas to all matters not stated upon my own knowledge are
           as follows: communications and correspondence had with plaintiff and other documents
           relating thereto which are in affirmant's possession.

                  I affirm that the foregoing statements are true, under the penalties of perjury.

           Dated: New York, New York
                  May 30,2023




                                                            RYL I. SCH ARTZ,ESQ.
